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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RICHARD ROGERS, individually and on
behalf of similarly situated individuals,
                                                    Case No. 1:19-cv-03083
                  Plaintiff,

       v.
                                                    Honorable Matthew F. Kennelly
BNSF RAILWAY COMPANY,

                  Defendant.



        DEFENDANT BNSF RAILWAY COMPANY’S MOTION TO PRECLUDE
           ARGUMENT ON THE “TOTAL NUMBER” OF FINGER SCANS


       Defendant BNSF Railway Company (“BNSF”), through its undersigned counsel,

respectfully submits the following motion to preclude Plaintiff’s counsel from presenting argument

or evidence to the jury regarding the alleged total number of times Plaintiff and/or the class

members scanned their fingers to enter BNSF’s four intermodal facilities in Illinois through the

Auto-Gate Systems at those facilities. In support of its motion, BNSF states as follows:

                                       INTRODUCTION

       Preventing “trial by ambush” is the fundamental purpose of the discovery rules that govern

litigation in federal court, including the disclosure rules that both parties must abide by under

Federal Rules of Civil Procedure 26 and 37. Plaintiff’s effort to present some total number of

finger scans to the jury—which has never been disclosed to BNSF and flouts this Court’s pretrial

ruling prohibiting Plaintiff’s expert from providing an opinion on this issue—runs roughshod over

these bedrock principles. On the eve of closing arguments, BNSF still has no idea how many “total

scans” Plaintiff is asking the jury to find, or on what basis. In fact, BNSF does not even know
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(and Plaintiff has offered no evidence of) how many times the named plaintiff, Richard Rogers,

allegedly scanned his finger during the class period. None of these numbers or any purported

methodology supporting them was ever disclosed to BNSF at any point during the discovery

process (or at trial), and Plaintiff’s effort to smuggle this evidence in through argument of counsel

after the Court already precluded Plaintiff from belatedly introducing it through his expert should

be rejected for this reason alone.

       Moreover, Plaintiff’s effort to calculate some total number of finger scans based on a

cherry-picked subset of data or estimated daily averages of visitors to BNSF’s intermodal facilities

would not even be admissible as expert testimony under Federal Rule of Evidence 702 and Daubert

v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993)—not even close. And it would plainly

violate the Rules Enabling Act by subjecting BNSF to an unlawful “Trial by Formula” and

depriving BNSF of its entitlement to present its defenses to Plaintiff’s and the class members’

claims. The Court should preclude Plaintiff’s counsel from presenting argument or evidence to

the jury regarding the alleged total number of times Plaintiff and/or the class members scanned

their fingers to enter BNSF’s intermodal facilities in Illinois through the Auto-Gate System.

                                          ARGUMENT

       This trial began one week ago, and BNSF still does not know the total number of times

Plaintiff is asking the jury to find (or infer) that BNSF violated Section 15(b) of the Illinois

Biometric Information Privacy Act, or on what basis. But as far as BNSF can gather—since neither

the number nor Plaintiff’s methodology has ever been disclosed to BNSF during this litigation—

Plaintiff is attempting to argue directly or ask the jury to infer some total number of finger scans

for the entire six-year class period based on isolated bits of evidence in the record about the

estimated number of visits to some of BNSF’s intermodal facilities on any given day. Plaintiff

apparently intends to extrapolate—directly or by implication—from a small subset of data and the


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purported “average” number of daily visits to derive a total number of finger scans for more than

44,000 class members at four different Illinois intermodal facilities during a six-year period. The

consequences of these calculations would be staggering, given the $1,000 and $5,000 statutory

damages amounts available to Plaintiff under BIPA that (under Plaintiff’s theory) accrue each time

Plaintiff or one of the class members scanned their fingers to enter a BNSF intermodal facility.

For numerous, independent reasons, Plaintiff should not be permitted to make any kind of

argument to the jury—direct, indirect, or by implication—about total number of finger scans.

       First, Plaintiff’s effort to prove a total number of negligent, reckless, or intentional

violations of BIPA and resulting damages based on a total number of finger scans that has never

been disclosed to BNSF—and a methodology that has never been disclosed to BNSF—is a blatant

violation of the discovery rules. Federal Rule of Civil Procedure 26(a) requires both parties to

timely disclose “a computation of each category of damages claimed” and “the documents or other

evidentiary material” on which those computations are based, along with “a complete statement of

all opinions” the party’s expert witness “will express and the basis and reasons for them.” Fed. R.

Civ. P. 26(a)(1)(A)(iii), (a)(2)(B)(i) & (a)(2)(D). Rule 26 also requires parties to “timely”

supplement those disclosures. Fed. R. Civ. P. 26(e). Plaintiff has never disclosed an alleged total

number of finger scans or any methodology for deriving one, so BNSF finds itself in the absurd

position of preparing for closing arguments while guessing at a number that could lead to billions

of dollars in statutory damages. Under Federal Rule of Civil Procedure 37, Plaintiff should be

prevented from arguing any total number of scans to the jury or asking the jury to draw any

inferences about a total number based on the evidence introduced at trial.

       The “primary rationale” for exclusion under Rule 37 “is to avoid an unfair ‘ambush’ in

which a party advances new theories or evidence to which its opponent has insufficient time to




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formulate a response.” Rowe Int’l Corp. v. Ecast, Inc., 586 F. Supp. 2d 924, 934 (N.D. Ill. 2008)

(Kennelly, J.). That rationale squarely applies here. And it is precisely why this Court granted

BNSF’s pretrial motion to preclude Plaintiff’s expert, Mr. Caruso, from offering opinions at trial

on “the number of biometric captures,” since he had previously disclosed an opinion only on the

number of unique class members, not the number of finger scans. See ECF No. 175; ECF No. 192.

Plaintiff is now attempting to end-run around the Court’s pretrial ruling by asking the jury to infer

from the evidence some total number of finger scans that the Court expressly ruled Plaintiff’s

expert could not testify about. Allowing Plaintiff to do indirectly what the discovery rules and this

Court’s pretrial ruling emphatically prevent Plaintiff from doing directly would make a mockery

of the litigation process and subject BNSF to a potentially massive statutory damages award that

BNSF has no meaningful opportunity to rebut.

       Moreover, Plaintiff’s total scan theory would not even be admissible if it had been properly

disclosed as expert testimony. In applying Federal Rule of Evidence 702 and the Daubert standard,

the Seventh Circuit has made clear that experts must use reliable methodologies rather than

“simplistic extrapolation and childish arithmetic.” Schiller & Schmidt, Inc. v. Nordisco Corp., 969

F.2d 410, 415 (7th Cir. 1992). The Seventh Circuit has thus excluded as unreliable expert

testimony that attempts to extrapolate from a small sample size to a much larger data set. See, e.g.,

Am. Honda Motor Co. v. Allen, 600 F.3d 813, 818 (7th Cir. 2010) (excluding expert testimony

attempting to extrapolate from test of a single vehicle model for one year to the entire fleet of that

model produced during a 7-year period). And it has excluded expert testimony based on non-

random sampling methodologies like the one Plaintiff apparently intends to rely on here. See, e.g.,

DeKoven v. Plaza Assocs., 599 F.3d 578, 581 (7th Cir. 2010) (“The sample drawn by the plaintiffs’

expert is what is called a ‘convenience’ sample—convenient to the sampler—as distinct from a




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‘representative’ sample—representative of the population sampled.”); Tagatz v. Marquette Univ.,

861 F.2d 1040, 1045 (7th Cir. 1988) (“It is an unacceptable statistical procedure to turn a large

sample into a small one by arbitrarily excluding observations.”).

       Plaintiff is attempting to rely on precisely this type of unscientific, simplistic methodology

by asking the jury to calculate a total number of finger scans based on a small, cherry-picked subset

of Auto-Gate System data for three weeks in June 2014 at two BNSF intermodal facilities and

testimony about estimated daily “average” numbers of visitors. Indeed, one of the class members,

Mr. Galbreath, even testified that the number of times the gate opens at a facility—which is what

the data and averages Plaintiff attempts to extrapolate from reflect—is not a reliable measure of

the number of finger scans. See Oct. 7, 2022 Trial Tr. 685:17–686:19. Plaintiff’s methodology

would not even come close to passing muster if offered through a properly disclosed expert. See,

e.g., People Who Care v. Rockford Bd. of Educ., 111 F.3d 528, 537 (7th Cir. 1997) (A “statistical

study that fails to correct for salient explanatory variables, or even to make the most elementary

comparisons, has no value as causal explanation and is therefore inadmissible in a federal court.”);

Sheehan v. Daily Racing Form, Inc., 104 F.3d 940, 942 (7th Cir. 1997) (“Before allowing

testimony cloaked in the authority of statistical analysis, the district court has an obligation to

ensure that the expert proceeded with “the degree of care that a statistician would use in his

scientific work.”). Plaintiff is not entitled to circumvent Daubert and this Court’s gatekeeping role

by presenting his theory through argument of counsel instead of through an expert witness.

       Finally, allowing Plaintiff to argue to the jury some estimated or extrapolated a “total

number” of scans that was never disclosed to BNSF or derived by any reliable, admissible

methodology would run afoul of the Supreme Court’s decision in Wal-Mart Stores, Inc. v. Dukes,

564 U.S. 338 (2011), which held that the class action device cannot be used to deprive a defendant




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of its entitlement “to litigate its statutory defenses to individual claims.” Id. at 367. In Dukes, the

Court reversed the certification of a class based on a methodology that would determine liability

for a sample of class members, and “[t]he percentage of claims determined to be valid would then

be applied to the entire remaining class” and “multiplied by the average backpay award in the

sample set to arrive at the entire class recovery.” Id. at 367. The Court held that this “novel

project” would violate the Rules Enabling Act by interpreting Rule 23 to “abridge, enlarge or

modify any substantive right” and preclude Wal-Mart from “litigat[ing] its statutory defenses to

individual claims.” Id. What Plaintiff is attempting here is even worse than the “Trial by Formula”

the Supreme Court squarely rejected in Dukes. Plaintiff’s methodology would not be admissible

even through timely disclosed expert testimony, as explained above, and it plainly would deprive

BNSF of its right to present individualized defenses to the purported number of scans for the class

members. Plaintiff should not be permitted to conduct this unlawful trial by ambush.

                                          CONCLUSION

       For the foregoing reasons, the Court should preclude Plaintiff’s counsel from arguing to

the jury about any alleged total number of times Plaintiff and/or the class members scanned their

fingers to enter BNSF’s intermodal facilities in Illinois through the Auto-Gate System.




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Dated: October 10, 2022                   Respectfully submitted,

                                          BNSF RAILWAY COMPANY



                                          By: /s/ Elizabeth Herrington
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                               CERTIFICATE OF SERVICE

       I, Elizabeth Herrington, certify that on October 10, 2022, I caused a copy of the foregoing

to be served upon all counsel of record via the Court’s CM/ECF system.



                                                    /s/ Elizabeth Herrington
                                                    Elizabeth Herrington
